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IN THE DISTRICT COURT
FOR WESTERN DISTRICT OF `NEW YORK

DR. JOSEPH IRRERA, "‘

Plaintiff, *
v. * Case No. 15-CV-6381-DGL-JWF
UNIVERSITY OF ROCHESTER and, *
DR. DUUGLAS HUMPHERYS, individually,

Defendant. *
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STIPULATION OF DISMISSAL WITH PREJUDICE
Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) Plaintiff in this aotion, Dr.
Joseph Irrera, by and through his undersigiied eounsel, hereby stipulates to the dismissal of this
action With prejudice as to all Defendants With each side to bear its own costs and each party to
bear its own attorneys’ fees.

Dated: September /3, 2018

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Marion Blankopf Stephen @(. Grygiel, Esq.
NIXON§PEABODY, LLP MCALISTER OLIVARHJS

1300 Clinton Square 63 Putnam Street, P.O. Box 173
Roohester, New York 14604 Saratoga Springs, NY 12866
Tel: 585-263~1581 Tel.: 518-633-4775

C ounsel for Defena’ants Counselfor Plaz'ntij

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CERTIFICATE OF SERVICE

l HEREBY CERTIFY that on this 14th day of September, 2018, a true and correct copy of
the foregoing Stipulation of Dismissal With Prejudioe, Was electronically filed With the Coult using

the CM/ECF system Which Will send notification of such filing to all counsel of record.

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Stephe G. Grygiel

 

